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UNlTED STATES BANKRUPTCY COURT
NORTHERN DlSTR|CT OF FLOR|DA
PANAMA ClTY DlVlSlON

|N RE:
MlLLS, ROGER ALLEN CASE NO. 18-50307-KKS
CHAPTER 7
Debtor(s).
l

 

NOT|CE OF lNTENT TO SELL PROPERTY OF THE ESTATE

TO: Debtor(s), Creditors, and Parties in interest

 

 

NOT|CE OF OPPORTUNlTY TO
OBJECT AND REQUEST FOR HEAR|NG

Pursuant to Local Ru|e 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. lVlail, or such other period as may be specified in Fed.
R. Bankr.P. 9006(f).

lf you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, l\/lary W. Co|on, P.O. Box 14596, Tallahassee, FL 32317,
and any other appropriate person Within the time allowed. |f you file and
serve a response within the time permitted, the Court will either schedule
and notify you of a hearing or consider the response and grantor deny the
relief requested without a hearing.

|f you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

 

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NOT|CE |S HEREBY G|VEN that the trustee/debtor-in-possession intends
to sell the following property of the estate of the debtor(s), under the terms
and conditions set forth below.

1. Description of property:
Equity interest in miscellaneous household goods and furnishings
($765).

2. l\/lannerof Sa|e: Private( X )* Public Auction( )

3. Terms of Sa|e: (inc|ude purchaser, if known, price, price terms, whether
or not sale is free and clear of liens, names and addresses of |ienors,
and all other pertinent information)

Private sale to Roger Al|en l\/li||s of property identified above for a total of
$765.00 payable at the rate of $76.50 per month for ten (10) consecutive
months with the first payment due on l\/lay 15, 2019. Payment shall be
made to lVlary W. Co|on, P.O. Box 14596, Tallahassee, FL 32317. This
sale is “as is”, “where is” with no warranties expressed or implied. The
sale is subject to any scheduled, known or unknown liens,
encumbrances, and exemptions; and the Purchase(s) is/are responsible
for all payments to Lien Holders, Tax Assessors, etc.

*The purchase price(s) was/were established by review of the schedules
and any additional documents or testimony provided by parties, negotiated
in good faith, and based on the principles of best business judgment

*(Applicab|e to private sales on|y) The trustee will entertain any higher bids
for the purchase of the assets of the debtor(s) which the trustee proposes
to sell. Such bids must be in excess of $200.00 more than the original bid
and must be in writing and accompanied by a deposit of 20% of the
proposed higher purchase price. Any higher bid must be received (With the
applicable deposit) by the trustee at the address listed below no later than
the close of business 15 days from the date of this Notice.

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NOT|CE lS HEREBY G|VEN that all objections to the same must
state the basis for the objection. lf no objection is filed, the sale described
above will take place.

 

DATED: April 18, 2019 /s/ Mary W. Co|on
MARY W. COLON
Chapter 7 Trustee

Smith, Thompson, Shaw, et al
P.O. Box 14596

Tallahassee, FL 32317
Telephone: (850) 241-0144
Facsimi|e: (850) 702-0735
Florida Bar No. 0184012
trustee@maryco|on.com

__ERT|F|CAT§QF SERV|CE
l HEREBY CERT|FY THAT A TRUE AND CORRECT COPY OF THE
FOREGO|NG has been furnished by first class U.S. l\/|ai| with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney

Services, LLC d/b/a certiticateofservice.com on April 18, 2019.

/s/ l\/lary W. Colon
l\/IARY W. COLON

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NORTHERN olsTRicT oF FLoRioA
PANAMA cer DivisioN'
|N RE: lV|lLLS, RGGER ALLEN CASE NO: 18-50307-KKS
DEcLARATioN oi= iviAu_iNG
cERni=ch'rE oi= sERvicE
Chapter: 7

 

 

On 4/18/2019, l did cause a copy of the following documents. described below,
NOT|CE OF lNTENT TO SELL PROPERTY OF THE ESTATE
REPORT AND NOT|CE OF lNTENTlON TO ABANDON PROPERT¥ OF THE ESTATE

to be served for delivery by the United States Postal Service, via First C|ass United States Nlai|, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

l caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/bla certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative thce, pursuant to Fed.R.

Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.

DATEDI 4/18/2019

LSLMBDLW._C.Q]QH._ILLLSL§.&
Mary W. Colon, Trustee 0184012

P. O. Box14596
Tallahassee, FL 32317
850 241 0144

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UNlTED STATES BANKRUPTCY COURT
NORTHERN DlSTR|CT OF FLOR|DA
PANA|V|A ClTY DlVlSlON
IN REZ NllLLS, ROGER ALLEN CASE NO: 18-50307-KKS

CERT|FICATE OF SERV|CE
DECLARAT|ON OF MA|L|NG

Chapter: 7

 

On 4/18/2019, a copy of the following documents, described belowl
NOT|CE OF lNTENT TO SELL PROPERTY OF THE ESTATE
REPORT AND NOT|CE OF |NTENTION TO ABANDON PROPERTY OF THE ESTATE

were deposited for delivery by the United States Postal Servicel via First Class United States Mail, postage prepaid, with suchient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that l have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Dec|aration of Certificate of Service and that it is true and correct to
the best of my knowledge, informationl and belief.

DATEDZ 4/18/2019

D_

Jay S. Jump

BK Attorney Services. LLC

d/b/a certincateofservice.com, for
Mary W. Colon, Trustee

P. O. Box 14596
Tallahassee, FL 32317

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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO

LABEL MATRIX FOR LOCAL NOTICING
11295
CASE 18~50307-KKS

NORTHERN DISTRICT OF FLORIDA
PANAMA CITY
THU APR 18 14-59-21 EDT 2019

NORTHWEST FLORIDA AUCTION GROUP INC
1319 LEWIS TURNER BLVD
FT WALTON BEACH FL 32547-1137

TERESA M DORR ESQ

ZALKIN REVELL PLLC

2441 US HIGHWAY 98W

SUITE 109

SANTA ROSA BEACH FL 32459-5336

AMERICAN EXPRESS NATIONAL BANK
CO BECKBT AND LEE LLP

PO BQX 3001

MALVERN PA 19355-0701

CAPITAL ONE

ATTN BANKRUPTCY

P0 BOX 30285

SALT LAKE CITY UT 84130-0285

CHASE MORTGAGE

ATTN CASE RESEARCH BANKRUPTCY
PO BOX 24696

COLUMBUS OH 43224-0696

JPMORGAN CHASE BANK NATIONAL
ASSOCIATION

CHASE RECORDS CENTER

ATTN- CORRESPONDENCE MAIL
MAIL CODE LA4-5555

700 KANSAS LANE

MONROE LA 71203-4774

PACIFIC UNION FINANCIAL LLC
1601 LBJ FRBEWAY STE 500
FARMERS BRANCH TX 75234~6034

PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

JPMORGAN CHASE BANK NATIONAL
ASSOCIATION

CO STEVEN GERALD POWROZEK

SHAPIRO FISHMAN GACHE LLP

4630 WOODLAND CORPORATE BLVD STE 100
TAMPA FL 33614-2429

PACIFIC UNION FINANCIAL LLC
EXL LEGAL PLLC

12425 ZSTH STREET NORTH
SUITE 200

ST PETERSBURG FL 33716-1826

AMERICAN EXPRESS
CORRESPONDENCEBANKRUPTCY
PO BOX 981540

EL PASO TX 79998-1540

BARCLAYS BANK DELAWARE
ATTN CORRESPONDENCE

PO BOX 8801

WILMINGTON DE 19899'3801

CAPITAL ONE
PO BOX 30285
SALT LAKE ClTY UT 84130-0285

HARLEY DAVIDSON FINANCIAL
ATTN BANKRUPTCY

PO BOX 22048

CARSON CITY NV 89721-2048

JERRY WILSONS ROOFING LLC
1705 ALABAMA AVE
LYNN HAVEN FL 32444-4243

PINNACLE
PO BOX 130848
CARLSBAD CA 92013'0848

SYNCHRONY BANK

CO PRA RECEIVABLES MANAGEMENT LLC
PO BOX 41021

NORFOLK VA 23541-1021

NATIONSTAR MORTGAGE LLC DBA MR COOPER
ROBERTSON ANSCHUTZ SCHNEID PL

6409 CONGRESS AVENUE SUITE 100

BOCA RATON FL 33487-2853

PACIFIC UNION FINANCIAL LLC

CO ALEJANDRO MARTINEZMALDONADO
EXL LEGAL PLLC

12425 28TH ST SUITE 200

ST PETERSBURG FL 33715-1826

AMERICAN EXPRESS
PO BOX 297871
FORT LAUDERDALE FL 33329-7871

BARCLAYS BANK DELAWARE
PO BOX 8803
WILMINGTON DE 19899*8803

CAPITAL ONE BANK USA NA
PO BOX 71083
CHARLOTTE NC 28272-1083

HARLEY DAVIDSON CREDIT CORP
PO BOX 9013
ADDISON TX 75001-9013

PACIFIC UNION FINANCIAL
ATTN BANKRUPTCY

1603 LBJ FREEWAY SUITE 500
FARMERS BRANCH TX 75234-6071

POLLACK ROSEN PA

806 DOUGLAS RD

SOUTH TOWER SUITE 200
CORAL GABLES FL 33134-3157

SYNCHRONY BANKCARE CREDIT
950 FORER BLVD
KETTERING OH 45420-1469

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PARTIES DESIGNATED AS "BXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL

PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E~SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

SYNCHRONY BANKCARB CREDIT
ATTN BANKRUFTC¥ DEPT

PO BOX 965061

ORLANDO FL 32896-5061

WYNDHAM CONSUMER FINANCE INC
P 0 BOX 97474
LAS VEGAS NV 89195-0001

NATASHA Z REVELL

ZALKIN REVELL PLLC

WATERSIDE BUSINESS CENTER

2441 US HIGHWAY 98W STE 109
SANTA ROSA BEACH FL 32459-5386

US BANK
PO BOX 5229
CINCINNATI OH 45201-5229

WYNDHAM VACATION OWNERSHIP INC
10750 W CHARLESTON BLVD
LAS VEGAS NV 89135-1049

DEBTOR

ROGER ALLEN MILLS
4021 OSPREY POINT
PANAMA CITY FL 32409-2129

UNITED STATES TRUSTEE

110 E PARK AVENUE

SUITE 123

TALLAHASSEE FL 32301-7728

MARY W COLQN
PO BOX 14596
TALLAHASSEE FL 32317-4596

TERESA M DORR

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